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UNITED STATES DISTRICT COURT

S()UTHERN DISTRICT OF NEW YORK

 

Harriet Dallis,
Plaintiff,
-against- .
: 1:16-cv-05442 (ALC)
Hilton Worldwide Holdings, Inc. et al, '
OPINION & ORDER
Defendants,

 

x
ANDREW L. CARTER, JR., United States District Judge:

Plaintiff Harriet Dallis brings this diversity tort action to recover monetary damages for
personal injuries she sustained on a slip and fall while she was a guest at the Hilton Hotel
l\/lidtown. Plaintiff asserts two causes of action: negligence and gross negligence Defendants,
Hilton Worldwide Holdings, lnc., Hilton Management, LLC, Hilton Worldwide, Inc., Park
Hotels And Resorts, Inc., Hilton Management, LLC, and HTL NY Hilton, LLC (collectively,
“Hilton”) now seek summary judgment and dismissal of Plaintiff’ s complaint in its entirety. For
the reasons stated below, Defendants’ motion for summary judgment is GRANTED.

FACTS

The following facts are taken from the record, including Defendants’ Rule 56.l

Statement, and’are undisputed unless otherwise noted. 1

 

l A party moving for summary judgment under Fed. R. Civ. P. 56 must submit “a separate, short and concise
statement, in numbered paragraphs, of the material facts as to which the moving party contends there is no genuine
issue to be tried.” Local Civ. R. 56.l(a). Although Defendants have submitted a Local Rule 56.1 Statement, the
statement is not in full accordance with the requirements of the rule and does not fully set forth the facts of what
occurred, but identifies the items in the record Defendants rely upon such as a deposition or affidavit However, this
Court has “broad discretion . . . to overlook a party’s failure to comply with local court rules,” including in the
context of Rule 56.1, and may comb the entire record in order to properly analyze a party’s summary judgment
motion. Hollz v. Rockefeller & Co., 258 F.3d 62, 73 (Zd Cir. 2001); see DeRl`enzo v. Metro. Transp. Auth., 237 Fed.
App’X 642, 646~47 (2d Cir. 2007) (confirming the vitality of Holtz rule). The following facts, thus, Will be taken
from the Defendants’ Rule 56.l Statement as well as the record, including affidavits, deposition testimony, and
exhibits submitted by the parties.

 

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On January 23, 2016, Dallis was a guest at the Hilton Hotel l\/lidtown (“Hilton Hotel”) in
Room 3504 located at 1335 Avenue of the Americas, New York, New York. Defs. 56.l Stmt. jj
7. There was snow falling on that day as a result of Winter Storm Jonas. Dallis left the Hilton at
approximately lO:OO am and returned to her room “between 3:00 and 3 130 pm.” Dallis Dep. Tr.
66:9-12. At neither time, did she not notice any puddles or any other moisture in the elevator
lobby area. Ia'. 65:5-l7. Around an hour later, Dallis left her room at approximately 4:30 pm
and took the elevator down. Id. 69:9-13. Gina Valenti, an employee of Dallis’s, accompanied
her in the elevator. Ia’. 73:5-7; Valenti Aff. jj 7.

Exiting the elevator, Dallis slipped and fell in the elevator lobby or bank. Dallis Dep. Tr.
69:6-l l; 77:8~78:6; see also Guest Accident Report (Raicus Decl. Ex. U). Dallis filled out a
form entitled Guest Accident Report, where she wrote:

“l got off the elevator and walking away from the elevator. l stepped (unbeknownst to

me) in a puddle of water, my feet went out from under me. l fell to the ground then

slipped and slid into the edge of the opposite elevator frame, nose first.”
Dallis did not notice water on the floor of the elevator lobby and did not look back to see what
caused her to slip. Dallis Dep. Tr, 81:22-25.

There is a disputed issue of fact about whether there was water on the elevator lobby
floor.2 See Pl. 56.l Stmt. jj l. Valenti witnessed the accident Defs. 56.l Stmt. jj l4. She
observed that there was water in many areas on the elevator bank’s floor, including where Dallis
slipped. Valenti Aff. jj lO. Valenti also told Dallis that She slipped in water. Dallis Dep. Tr.
82:2-9. However, Winston Mattias, a Hilton Security Officer who responded to the accident
location and inspected the floor, stated that there was no moisture, liquids, or anything on the

floor. Mattias Dep. Tr. 2814-7;29:5-11.

 

2 According to Defendants, the videotape that depicts Dallis’s accident does not show a “puddle of water.” Defs.
56.l Stmt. jj 10.

 

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Prior to the incident, Pedro Rosario, who worked as a housekeeper in the lobby at the
hotel on the day of the accident (Defs. 56.l Stmt. jj ll), began his shift at 4:00 pm. Rosario Dep.
Tr. 15:12-20; 24:1 l-15; 36:10~11. Rosario started mopping the floors and would check the
floors of the elevator lobby every 20 minutes or so. Ia'. 25:16-23; 36:16-25. After coming from
the bathroom, Rosario observed Dallis, post slip and fall, bleeding from the nose and speaking
with security in front of the elevators. Id. 27:20~28: l7. Rosario mopped the wet footprints in the
elevator lobby area. Ia’. 29:9-25.

According to the Assistant Director of Housekeeping at the hotel at the time of the
incident, Wayne Durant, the elevator lobby where the slip and fall occurred was constantly
inspected and mopped during repetitive cleaning cycles to prevent the accumulation of water on
the floor surface Durant Aff. jj 16. l\/loreover, there was no slip and fall accidents or complaints
about water on the floor prior to the accident. Id. During inclement weather, and specifically on
January 23, 2016, the Hilton Hotel implements enhanced maintenance and safety protocol
including the placement of mats at all hotel entrances and the placement of caution signs in the
lobby and elevator lobby entrances, but not in the elevator lobby. See Durant Aff. jjjj lO-lZ; see
also Rosario Dep. Tr. 21:7-23; 25:21-24 (noting additional personnel working for maintenance
on that day).

STANDARD OF REVIEW

Under Fed. R. Civ. P. 56, summary judgment is proper where admissible evidence in the
form of affidavits, deposition transcripts, or other documentation demonstrates the absence of a
genuine issue of material fact, and one party’s entitlement to judgment as a matter of law. See
Viola v. th`lips Med. Sys. ofN. Am., 42 F.3d 712, 7l6 (Zd Cir. 1994). There is no issue of

material fact where the facts are irrelevant to the disposition of the matter. Charfz's Seguros

 

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Mexz'co, S.A. de C. V. v. HL]Ral'l & Riggz`ng, LLC, 967 F. Supp. 2d 756, 761 (S.D.N.Y. 2013). ln
deciding a summary judgment motion, the Court must construe the evidence in the light most
favorable to the non-moving party and draw all reasonable inferences in its favor. Nz`agara
Molzawk Power Corp. v. Jones Clzemz'cal Inc., 315 F.3d 171, 175 (2d Cir. 2003) (citing Ana’erson
v. Lz`berly Lobby, Inc., 477 U.S. 242, 255 (1986)). An issue of material fact is genuine “if the
evidence is such that a reasonable jury could return a verdict for the non-moving party.”
Anderson, 477 U.S. at 248. “[ljn cases where the nonmovant will bear the ultimate burden of
proof at trial on an issue, the moving party’s burden under Rule 56 will be satisfied if he can
point to an absence of evidence to support an essential element of the nonmoving party’s claim.”
Braa’y v. Town ofColchester, 863 F.2d 205, 210-11 (2d Cir. 1988) (citations omitted).

DISCUSSION

To establish a negligence claim under New York law, a plaintiff must demonstrate that:
“(1) the defendant owed the plaintiff a cognizable duty of care; (2) the defendant breached that
duty; and (3) the plaintiff suffered damage as a proximate result of that breach.” Stagl v. Delta
Az`rlz`nes, Inc., 52 F.3d 463, 467 (2d Cir. 1995) (citing Solomon v. Cin ofNew York, 66 N.Y.2d
1026, 1027, 499 N.Y.S.2d 392, 489 N.E.2d 1294 (1985)). A landowner has a duty to maintain
its premises in a reasonably safe condition. See Corl)in v. Grana’ Union Co., No. 96ClV.4626,
1997 WL 739583, at *4 (S.D.N.Y. Nov. 26, 1997) (citing Kellman v. 45 Tiemann Assocz'ates,
lnc., 87 N.Y.2d 871, 872, 638 N.Y.S.2d 937, 938, 662 N.E.2d 255 (1995)). Where inclement
weather occurs, landowners are neither “required to cover all of [theirj floors with mats, nor to
continuously mop up all moisture resulting from tracked~in [precipitationj.” Hz'ckson v.
Walgreen Co., 150 A.D.3d 1087, 1087, 56 N.Y.S.3d157, 159 (2d Dep’t 2017); see also Gz'bl)s v.
Port Aath. ofNew York, 17 A.D.3d 252, 255, 794 N.Y.S.2d 320, 323 (1st Dep’t 2005)

(“[Defendantj did not have an obligation to provide a constant remedy of water being tracked

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into a building in rainy weather.” (emphasis added)). A landowner, who did not create the
dangerous condition, is liable for negligence when the dangerous condition causes injury only
when the landowner had actual or constructive notice of the condition. Taylor v. United States,
121 F.3d 86, 89-90 (2d Cir. 1997) (citing Gora’on v. Amerl'can Museum ofNat. Hz`st., 67 N.Y.2d
836, 83 8, 492 N.E.2d 774, 775 (1986)). “To constitute constructive notice, a defect must be
visible and apparent and it must exist for a sufficient length of time prior to the accident to
permit defendant’s employees to discover and remedy it.” ]a’. (quoting Gora'on, 67 N.Y.2d at
837, 492 N.E.2d at 774).

Defendants argue that it did not breach the duty to maintain safe premises because it did
not have notice of the alleged accumulation of water in the elevator lobby. The Court agrees. In
this case, there is no evidence establishing a genuine issue of material fact with respect to actual
or constructive notice that could support a finding in favor of Dallis.

The record does not contain any evidence that anyone, including Dallis, observed the
alleged puddle of water or any other water on the floor prior to the accident. See Gordon, 67
N.Y.2d 836 at 838, 492 N.E.2d at 774. Approximately over an hour before the slip and fall,
Dallis testified that upon returning to the hotel between 3 :00 and 3 :30 pm she did not notice any
puddles or any other moisture in the elevator lobby area. l\/[oreover, to show lack of constructive
notice, Defendants have proffered evidence “as to when the area in question was last cleaned or
inspected relative to the time when the plaintiff fell.” Hickson, 150 A.D.3d at 1088, 56 N.Y.S.3d
at 157. Rosario, who worked as a cleaner for Defendants, began his shift at 4:00 pm mopping
the floor, including the elevator lobby floor, and would check the floor of the elevator lobby
every 20 minutes or so. See Domz'ny v. Golab, 286 A.D.2d 810, 811, 730 N.Y.S.2d 362, 364 (2d

Dep’t 2001) (fmding deposition testimony of defendant’s employee that floors were regularly

 

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inspected and mopped on a needed basis established lack of actual or constructive notice).
Defendants further noted that during inclement weather, they implement increased and enhanced
preventative maintenance and safety protocol, a fact that Rosario’s deposition testimony
corroborated See id. (finding that deposition testimony of defendant’s employees who
expressed a general awareness that winter weather often creates hazardous conditions and
described the precautions taken to alleviate them demonstrate lack of actual or constructive
notice).

The affidavit of Gina Valenti does not raise a material issue of fact because it fails to
establish notice of a pre-existing condition that Defendants had a reasonable opportunity to
ameliorate. Valenti, an employee of the Dallis’s business, observed the slip and fall and noted
that there was water in many areas on the elevator’s bank’s floor, including right where Dallis
slipped. However, this does not speak to the issue of notice, specifically how long the water was
there. See McDa]j‘l`e v. Fleel Fl`nancz'al Groap, lnc., 269 A.D.2d 575, 703 N.Y.S.2d 510 (2d
Dep’t 2000) (“[ljn the absence of proof as to how long a puddle of water was on the floor, there
is no evidence to permit an inference that the defendant had constructive notice of the condition
in question[.j”). Valenti also observed that water in the elevator lobby accumulated as a result of
numerous people with snow on their clothes trafficking the elevator lobby area, but this general
observation fares no better on the issue of notice. Critically, Valenti does not specify when she
saw water in the elevator lobby area prior to the accident A general awareness that some
dangerous condition may be present is not “legally sufficient to charge defendant with
constructive notice.” Gora’on, 67 N.Y.2d at 83 8, 492 N.E.2d at 775 (litter); see also Rogers v.
Rockefeller Group ]nl"l., Inc., 38 A.D.3d 747, 750, 832 N.Y.S.2d 600, 603 (2d Dep’t 2007)

(tracked in water on lobby floor from rainy weather); Boacher v Watervlz`et Shores Assocs., 24

 

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A.D.3d 855, 857, 804 N.Y.S.2d 511, 513 (3d Dep’t 2005) (icy conditions). Rather, Plaintiff
must proffer “evidence establishing constructive notice of the particular condition that caused
[herj fall.” Gorclon, 67 N.Y.2d at 83 8, 492 N.E.2d at 774. in sum, Valenti’s affidavit does not
attest that the water on the elevator lobby floor existed for any period of time prior to Ms.
` Dallis’s accident; existed for a sufficient period of time prior to the accident to provide Hilton
with the opportunity to ameliorate the condition; that prior complaints were made to the
Defendants; or that Defendants created the condition. See, e.g., Dane v. Taco Bell Corp., 297
A.D.2d 274, 275, 746 N.Y.S.2d 45, 46 (2d Dep’t 2002); Rosarz`o v. New York Cily Transz`t
Aathorz'ly, 215 A.D.2d 364, 365, 626 N.Y.S.2d 242, 243 (2d Dep’t 1995).
CONCLUSION
For the foregoing reasons, Defendants’ motion for summary judgment is granted, and the

Complaint is dismissed

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Dated: February 20, 2018
New Yor'k, NeW York ANDREW L. CARTER, JR.
United States District Judge

 

 

